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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 DELPHINE GREEN,

              Petitioner,

 v.                                       CIVIL ACTION NO.    1:07CV55
                                          CRIMINAL ACTION NO. 1:05CR102
                                                 (Judge Keeley)

 UNITED STATES OF AMERICA,

              Respondent.


                ORDER ADOPTING REPORT AND RECOMMENDATION

       On April 19, 2007, the pro se petitioner, Delphine Green

 (“Green”), filed a petition for writ of habeas corpus pursuant to

 28 U.S.C. § 2255.          On July 9, 2007, Green filed an amended

 petition. On July 12, 2007, United States Magistrate Judge John S.

 Kaull entered a Report and Recommendation (“R&R”), recommending

 that the Court deny Green’s § 2255 motion and dismiss the case with

 prejudice.     Green did not file any objections.         Consequently, on

 October 23, 2007, the Court adopted the R&R in its entirety, denied

 Green’s § 2255 motion, denied her amended motion and dismissed the

 case with prejudice.

       Subsequently, on November 30, 2007, Green filed a motion to

 reopen the case, asserting that she had never received the R&R.

 Because the docket sheet did not reflect a dated return receipt,

 the Court granted Green’s motion and reopened the case.                    On

 January 16, 2008, Green finally filed objections to the R&R.
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       This Court reviews objections to an R&R de novo, but may adopt

 portions of the R&R to which Green has not objected without

 substantive review.1 In her objections, Green merely reasserts the

 original three grounds for her motion without specific argument as

 to how the Magistrate Judge allegedly erred.             Specifically, she

 alleges that her plea agreement did not contain all of the promises

 made to her by the government, her attorney rendered ineffective

 assistance of counsel, and her conviction was somehow illegal

 through an unlawful arrest.

       Upon de novo review, the Court finds that the Magistrate Judge

 properly applied the applicable legal standards in recommending

 that this Court deny and dismiss Green’s petition on all grounds.

 The Magistrate Judge properly found that the plea agreement did not

 contain any promise of a one-year sentence and that Green had

 indicated on the record at her Rule 11 hearing that there were no

 other   agreements    between     the   parties.   Applying   Strickland   v.

 Washington,    466   U.S.   668    (1984),   the   Magistrate   Judge    also

 correctly determined that Green’s ineffective assistance of counsel

 argument was without merit. Finally, the Magistrate Judge correctly



       1
         Green’s failure to object any portion of the Report and Recommendation
 not only waives her appellate rights on that issue, but also relieves the
 Court of any obligation to conduct a de novo review of that issue. See
 Thomas v. Arn, 474 U.S. 140, 148-153 (1985); Wells v. Shriners Hosp., 109 F.3d
 198, 199-200 (4th Cir. 1997).

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 applied 28 U.S.C. 2255 and found that Green had failed to allege

 sufficient grounds to support her unlawful arrest argument.

       Consequently, the Court ADOPTS Magistrate Judge Kaull’s Report

 and Recommendation in its entirety, DENIES Green’s § 2255 motion

 (dkt. no. 96 in 1:05cr102 and dkt. no. 1 in 1:07cv55), her amended

 motion (dkt. no.     103 in 1:05cr102 and dkt. no. 7 in 1:07cv55) and

 DISMISSES the case WITH PREJUDICE.         The Court orders the Clerk to

 STRIKE the case from the Court’s docket.

       It is so ORDERED.

       The Clerk is directed to mail a copy of this Order to the

 petitioner.

 Dated: January 22, 2008.



                                           /s/ Irene M. Keeley
                                           IRENE M. KEELEY
                                           UNITED STATES DISTRICT JUDGE




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